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       Exhibit 5
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e AmeriCorps

 Executive Order Compliance
 Instructions
 February 13, 2025




                                                                  250 E Street SW
                                                                  Washi ngton, D.C. 20525
                                                                  202-606-5000/ 800-942-2677
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        Background
        As shared in an email sent by Carly Bruder, Acting Chief Progra m Officer on February 11,
        2025, A meriCorps is continuing to review all appl icable executive o rders, memoranda and
        correspond ing guidance issued since January 20, 2025, by President Trump, the Office of
        Management and Budget and the Office of Personnel Management.

        The agency is reviewing all cu rrent A meriCorps awa rds to ensure compliance w ith these
        directives and ad min istration priorities. This document includes guidance on next steps in
        th is process to ensure co mpliance with t hese directives.


        Timeline
        All g rantees must respond to the Executive Order Compliance email by February 19, 2025,
        by submitting one of the following: a self-certification statement, a g rant amendment to move
        your program into compl iance with the executive orders, o r a relinquishment letter. You r
        response to the Executive Order Compliance ema il should be sent to your Portfolio Manager
        and cc t he region in box fo r your state . In rare circumstances extensions to this deadline may
        be approved by regiona l office staff upon request.

        Overview
        AmeriCorps conducted a review of active grants to identify activities described in each g rant
        application t hat may not comply w ith executive o rders.

        All aspects of AmeriCorps g rants/awards must comply with President Tru mp's executive
        orders, including, but not lim ited to :

              •     Grant applications for AmeriCorps resources

              •     Activities perform ed by A meriCorps members/vo lunteers

              •     Training provided to members/volunteers

              •     Program materia ls, such as volunteer/member appl ications, enroll ment form s, service
                    opportunity listings, and handbooks




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           •     Social media and website posts about you r A meriCorps award

        Grantees/sponso rs must also ensure al l sub appl icants/volunteer stations/operating
        sites/host sites are compliant with executive orders th roug h their memorandum of
        understanding and subsite monitoring .

        The agency sent one of two letters for each proj ect, one for grants that appear to be in
        compliance with t he executive o rders or a second for g rants that include language that may
        not be in compliance.

        Required Responses

        If you r organ ization received the first letter - Titled, "Executive O rder Self-Certification
        Required," then:

           •     Your organ ization can self-certify that th is awa rd (meaning all aspects of the g rant
                 activities described in the application and ca rried out under this g rant, as described
                 above) is in compl iance. If you bel ieve this award is not in compliance w ith the
                 executive orders outl ined in Append ix A, you may request to amend you r g rant or
                 consider rel inquishment.

        If you r organ ization received the second letter - Titled, "Executive O rder - Potentia l
        Noncompliance," t hen :

           •     Your organ ization must review the sections that are identified in the letter as
                 potentially being noncompl iant.
           •     If you r review determines t he awa rd (meaning all aspects of the grant activities
                 described in t he appl ication and carried out under t his grant, as described above) is
                 co mpliant with executive orders, you can self-certify for t his award .
           •     If any of the p rogra m activities are not in compliance w ith the executive orders, you
                 must submit an amendment to the award to move it into co mpliance by February 19,
                 2025 o r email by February 19, 2025 expressing an intent to relinquish
        Amending the application (s) (and potentially VADS for VISTA): If your proj ect is
        conducting noncompliant activities w ithin t he scope of your approved grant(s), and you w ish
        to rema in an A meriCorps grantee/sponsor, then you must cease these activities immediately,
        initiate an amend ment to you r most recent award and remove or update any language
        related to out of compliance activities. If you have multiple awa rds, you must update each
        application t hat had find ings.

        Relinquishment: If your proj ect is conducting noncom pl iant activities within the scope of
        your approved grant(s), and you wish to relinquish, then you must email t he Regional Office
        by February 19, 2025 expressing intent to rel inquish. The Regional Office wi ll provide
        add itiona l instructions upon receipt.


        Procedure
        Self-Certification Instructions




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        To self-certify, your o rganization must review the executive o rders in Append ix A and affi rm
        that you r A meriCorps g rant/award compl ies w ith President Tru mp's executive o rders. If any
        language from you r application is high lighted as requ iring clarification in the attached letter,
        p lease review this section of you r appl ication to determ ine whether it conflicts w ith any
        executive orders and make updates as necessary. If you determ ine you r proj ect is in fu ll
        compliance and the na rrative (and VAD for VISTA p rojects) compl ies w ith the executive
        orders, you must emai l you r Portfolio Manager and cc you r region-specific ma ilbox listed
        below with the fol lowing statement:

           •     MidAtlantic@americorps.gov
           •     Midwest@americorps.gov
           •     Mountain@americorps.gov
           •     NorthCentral@americorps.gov
           •     Northeast@americorps.gov
           •     SouthCentral@americorps.gov
           •     Southeast@americorps.gov
           •     West@americorps.gov

        "I certify that [ Program Name], [application ID] complies with all admin istration Executive
        O rders and does not include any activities that promote DEi activities."

        If any activities outl ined in you r application or VADS do not ful ly comply w ith the executive
        orders, you cannot self-certify, and must amend you r g rant or rel inqu ish the award .

        Amending your award to address non-compliance

        If you need to amend your awa rd to co mp ly with the executive o rders, you r organization must
        initiate an amend ment in eGrants.

        Selecting amendment types: The amend ment types that are relevant for this work are : Modify
        Performance Measures o r Workplans, Revise Budget, and Revise Narrative. Consider what
        amendment types w ill be necessary to make all you r proposed changes.

        Existing amendments: If you already have an existing amendment open on a grant, you can
        combine this amendment w ith you r cu rrent amendment if it can be completed by February
        19. If you cannot complete an open amend ment by February 19, p lease delete that
        amendment and create a new one for th is p rocess.

        VISTA Sponsors may also need to amend the VISTA Assignment Description (VAD) to
        comply with the executive orders, and these also must be init iated th rough eG rants by your
        organ ization by February 19, 2025.

        Volunteer Generation Fund grantees funded through A merican Rescue Plan wi ll need to
        update their recently submitted FY 25 VGF ARP Continuation application . VGF ARP g rantees
        wi ll not submit an amend ment but w ill make changes d irectly to their application once the
        Portfolio Manager has returned it in eGrants. If you have resolution items that were identified



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        du ring the initial review, please complete them at the sa me ti me as addressing EO non-
        compliance.

        Links to g rantee amendment award processing gu idance by progra m :

           •     AmeriCorps Seniors, VISTA Volunteer Generation Fund, and Days of Service
                 Amendment to Modify Grant Award Guidance

           •     AmeriCorps VISTA Amendment to VISTA Assignment Description (VAD) Guidance

           •     Initiating, Processing, or Requesting Post-Award Amendments on ASN Awards

        Grantees may make any necessary changes to t he application to bring it into compliance so
        long as it co mplies with all program policies and requi rements. This may require changes to
        staff roles and activities, member or volunteer roles and activities, train ings, service sites,
        performance measu res, budget and any other components of a progra m t hat may conflict
        with the executive orders. Amend ments to move into fu ll compl iance are due by February
        19.

        Relinquishment Instructions

         If your organization determines that your A meriCorps p roject cannot be brought into
        compliance or that your organization no longer wishes to operate t his p roject with
        AmeriCorps funding, p lease send a letter by February 19 to your portfolio manager, w ith a
        copy to your region-specific ma ilbox listed below, ind icating your intention to relinquish th is
        award . Please include the grant number and p roposed end date.

        Your Regional Office w ill set-up a meeting with you to review t he status of the grant funds for
        close-out. The grantee is responsib le for completing the final proj ect prog ress report and
        financial reports.

        Reg ion Mai lboxes for cc:

           •     MidAtlantic@americorps.gov
           •     Midwest@americorps.gov
           •     Mountain@americorps.gov
           •     NorthCentral@americorps.gov
           •     Northeast@americorps.gov
           •     SouthCentral@americorps.gov
           •     Southeast@americorps.gov
           •     West@americorps.gov




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        State Commission Instructions
        The email you received included letters for your comm ission grants and a spreadsheet w ith
        review results for your subapplicants. You must review the grants referenced in the letters
        and self-certify they comply w ith al l executive orders. To self-certify grants awarded to your
        commission, i.e. : CSG, CIF, VISTA, you must fol low the above self certification, amendment,
        or rel inqu ishment instructions .

        To certify your subapplicant portfolio, you must use the attached spreadsheet.

        For subappl icants included on the No Compliance Issue Identified tab you must certify that
        these sub applicants comply w ith all Executive Orders by:

           •     Copying and pasting the appropriate response next to each listed sub application :

                    □    I certify that fProgram Name). [Application ID] compl ies w ith all adm inistration
                        Executive Orders and does not include any activities that promote DEi
                        activities OR

                    □   The sub appl ication is currently noncompliant w ithin the scope of approved
                        grant activities and requ ires an amendment to ensure compliance. The
                        commission w ill inform the PM and initiate the amendment OR

                    □   This sub application must be relinquished. The comm ission wi ll in itiate this
                        process.

        For subappl icants included on the Potential Compliance Issue Identified tab you must:

           •     Instruct the program to immed iately stop all noncom p liant activit ies.

           •     The program must immed iately initiate an amendment in eGrants to remove the
                 noncompliant language and/or activities from their appl ication .

           •     If the program chooses not to amend its grant to bring it into compl iance it must
                 relinqu ish its award .

           •     If you feel th is assessment was in error, you must note this on the provided
                 spreadsheet and in the Notes column self-certifying that the project is in compliance.

        You must reply al l to the emai l you received, includ ing your Portfolio Manager and the region
        specific mai lbox attaching the spreadsheet w ith your responses recorded. You must respond
        by February 19, 2025 with the information requested . Nonresponse may resu lt in the
        term ination of your awards.

        Frequently Asked Questions
        Q1: In what scenarios can a grantee get approved for an extension to this deadline?




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        Extensio ns could be g ranted if you have an extenuating ci rcu mstance such as scheduled
        leave o r your internal p rocess for approva l from authorizing representative ta kes longer t han
        the timel ine allows. Please reach o ut to your Regiona l Office Staff to request an extension .

        Q2: How much can a grantee change the application and program model to come into
        compliance?

        Grantees are encouraged to make all necessary changes to come into com p liance so lo ng as
        the changes alig n with the fund ing notice. This may requ ire cha nging staff roles and activities,
        member o r volu nteer roles and activities, tra inings, service sites, performance measures, and
        any other com ponents of a p rogram that may conflict wit h the executive o rders.

        Q3: The letter shared language that needed clarification. If I've reviewed the specified
        language in the context of my application, and it complies with executive orders, do I
        need to remove the language?

        No, if you r review assessed that your applicatio n, as is, comp lies with the executive orders, no
        cha nges are needed, and you r organ izatio n ca n self-certify.

        QS: Can our Portfolio Manager or Regional Staff review our narratives before we
        submit an amendment?

        Due to the short t imeline, regiona l office staff w ill have lim ited capacity to respond to
        individual requests and w ill not be able to review ind ivid ual g rant narratives before the
        February 19 dead line. Grantees are responsib le for ensu ring that their appl ication and
        p rogram com p lies w ith President Trum p's executive o rders.

        Q6: If I choose to relinquish, can I finish the grant year?

        O nly if you can certify that you r p rogram complies with executive o rders, o r you amend you r
        g rant to be fully comp liant w ith in the ti meline p rovided.

        Q7: (ASN and VISTA) Am I able to transfer members to other operating sites or
        programs with available MSYs should my amendment require removing specific
        member activities?

        Yes., p lease co ntact your Reg ional Office staff for g u idance o n th is process.

        Q8. Can I initiate multiple amendment types at the same time?

        Yes. You may select mo re than one type when initiating an amend ment. You ca nnot have two
        amendments open at the same time.

        Q9. Can we change the number of MSY, VSY, or volunteers associated with this
        application?

        ASN g rantees: Grantees are encou raged to ful ly en rol l all MSY they have been awarded . It is
        allowable to enroll fewer members if necessary to comply w ith the ad m in istration's executive
        orders.




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        ACS grantees: Grantees may reduce VSY for positions t hat are deemed as non-compliant due
        to the ad ministration's executive orders. Volunteer positions not included in performance
        measures and volunteers engaged in Other Com munity Prio rity performance measure who
        are engaged in non-compliant activities must also stop. VSY reduction for any other reason is
        not allowed . A reduction in VSY requires budget revisions .

        Q10. If I relinquish my grant, can my members be exited for compelling personal
        circumstances?

        Yes. Fo r ASN grantees, if you relinquish your grant, your members may be exited for
        compelling personal ci rcumstances. Per CFR 45 CFR 2522.230(a)(4)(C), members may be
        released from completing a term of service for . . . "Conditions attributable to the progra m or
        otherwise unforeseeable and beyond the participant's control, such as a natura l d isaster, a
        strike, relocation of a spouse, or the nonrenewal or premature closing of a project or
        program, that make completing a term unreasonably difficult or impossible;" You must
        document the reason for the members compelling personal circu mstances exit, includ ing
        that the member cou ld not be placed in another program .

        For VISTA sponsors, please contact your Portfolio Manager rega rd ing any members that may
        need to exit the proj ect early.

        Appendix
        What is an Executive Order?

        The President of the United States manages the operations of the Executive branch of
        government through executive orders and memo randa . Executive o rders and memoranda
        are written directives, signed by the president, that order the government to ta ke specific
        actions to ensure "the laws be faithfu lly executed ."

        Information about presidential actions, including executive orders is available on the Wh ite
        House website.

        What part of my AmeriCorps grant must comply with Executive Orders?

        AmeriCorps, as part of the Executive b ranch of government, must comply with all appl icable
        executive orders and memoranda. No AmeriCorps funding may be spent on any activity not
        compliant with the executive orders and memo randa .

        All aspects of AmeriCorps g rants/awards must comply with President Tru mp's executive
        orders, including, but not lim ited to :

           •     Grant applications for AmeriCorps resources

           •     Activities perform ed by A meriCorps members/vo lunteers

           •     Training provided to members/volunteers




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           •     Progra m materia ls, such as volunteer/member appl ications, enroll ment form s, service
                 opportunity listings, and handbooks

           •     Social media and website posts about you r A meriCorps award

        Grantees/ sponso rs must also ensure al l sub appl icants/ volunteer stations/ operating
        sites/ host sites are compliant with executive orders th roug h their memorandum of
        understanding and subsite monitoring .

        Which Executive Orders must I comply with?

        AmeriCorps Grantee/Sponsors awa rds must comply with all executive o rders, includ ing but
        not limited to :

           •     Defending Women From Gender Ideology Extremism And Restoring Biolog ical Truth
                 To The Federal Government - The White House

                 Per the Trump-Vance Administration :

                 •   It is the policy of the United States to recognize two sexes, male and female.

                 •   "Sex" shall refer to an individual's immutable biological classification as either male
                     or female. "Sex" is not a synonym for and does not include the concept of "gender
                     identity."

                 •   When administering or enforcing sex-based distinctions, every agency and all
                     Federal employees acting in an official capacity on behalf of their agency shall use
                     the term "sex" and not "gender" in all applicable Federal policies and documents.

                 •   Federal funds shall not be used to promote gender ideology. Each agency shall
                     assess grant conditions and grantee preferences and ensure grant funds do not
                     promote gender ideology.

           •     End ing Radica l And Wasteful Government DEi Programs And Preferencing - The
                 White House

                 Per the Trump-Vance Administration :

                 •   (i) terminate, to the maximum extent allowed by law, all DEi, DE/A, and
                     "environmental justice" offices and positions (including but not limited to "Chief
                     Diversity Officer" positions); all "equity action plans," "equity" actions, initiatives, or
                     programs, "equity-related" grants or contracts; and all DEi or DE/A performance
                     requirements for employees, contractors, or grantees.

           •     End ing Illega l Discrimination And Restoring Merit-Based Opportun ity - The White
                 House

                 Per the Trump-Vance Administration :




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                 •   (iv) The head of each agency shall include in every contract or grant award:
                     (A) A term requiring the contractual counterparty or grant recipient to agree that its
                     compliance in all respects with all applicable Federal anti-discrimination laws is
                     material to the government's payment decisions for purposes of section 3729(b)(4)
                     of title 31, United States Code; and
                     (B) A term requiring such counterparty or recipient to certify that it does not
                     operate any programs promoting DEi that violate any applicable Federal anti-
                     discrimination laws.

           •     Unleashing American Energy - The Wh ite House

                 Per the Trump-Vance Administration :

                 •   (b) All activities, programs, and operations associated with the American Climate
                     Corps, including actions taken by any agency shall be terminated immediately.

                 Are federally recognized Tribes subiect to the executive orders?

                 Yes, t he executive orders general ly apply to federal ly recognized Tribes; however, the
                 unique lega l and pol itical relationship that federa lly recognized Tribes have with the
                 United States may impact how executive o rders related to diversity, equity, and
                 inclusion (DEi) apply. Grants serving Tribal members may have been m ischa racterized
                 in t he appl ication description as promoting DEi. If you are a Tribal grantee or are
                 serving Tribal members and have add itiona l questions, please reach out to:
                 nativeamericanaffairs@americorgs.gov and cc your portfolio manager.




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